                    Case 17-35506            Doc 1       Filed 11/29/17            Entered 11/29/17 16:18:03                   Desc Main
                                                            Document               Page 1 of 8
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SaveUp Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2345 N Waukegan Road
                                  Suite 140
                                  Deerfield, IL 60015
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2345 N Waukegan Road
                                                                                                  Suite 140 Deerfield, IL 60015
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 17-35506                Doc 1       Filed 11/29/17            Entered 11/29/17 16:18:03                        Desc Main
                                                                Document               Page 2 of 8
Debtor    SaveUp Inc.                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 17-35506            Doc 1        Filed 11/29/17             Entered 11/29/17 16:18:03                     Desc Main
                                                             Document                Page 3 of 8
Debtor   SaveUp Inc.                                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 17-35506            Doc 1       Filed 11/29/17             Entered 11/29/17 16:18:03                    Desc Main
                                                            Document                Page 4 of 8
Debtor    SaveUp Inc.                                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 29, 2017
                                                  MM / DD / YYYY


                             X   /s/ Paul Burt                                                            Paul Burt
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Jeffrey Strange                                                       Date November 29, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey Strange 3122923
                                 Printed name

                                 Jeffrey Strange & Associates
                                 Firm name

                                 717 Ridge Road
                                 Wilmette, IL 60091
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 3122923
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
    Case 17-35506   Doc 1   Filed 11/29/17   Entered 11/29/17 16:18:03   Desc Main
                               Document      Page 5 of 8

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                      American Express
                      PO Box 0001
                      Los Angeles, CA 90096


                      Barryillium Labs LLC
                      10248 Brushfield Lane
                      Fishers, IN 46037


                      Caitlin Schott
                      303 W Ohio
                      Apartment 2605
                      Chicago, IL 60654


                      California Labor Commissioner
                      455 Golden Gate Ave 10th Floor
                      San Francisco, CA 94102


                      Dave Trace
                      1002 Aynsley Ave
                      Lake Forest, IL 60045


                      Department of Labor
                      160 N LaSalle Street
                      13th Floor
                      Chicago, IL 60601-3150


                      FGMK
                      333 W Wacker Dr
                      6th Floor
                      Chicago, IL 60606


                      Grenville Strategic Royalty Corp.
                      220 Bay Street
                      Suite 550
                      Toronto Ontario M5J 2W4 Canada


                      Horwood Marcus Berk
                      500 W Madison Suite 3700
                      Chicago, IL 60661


                      Hunt & Henriques
                      151 Bernal Road Suite B
                      San Jose, CA 95119
Case 17-35506   Doc 1   Filed 11/29/17   Entered 11/29/17 16:18:03   Desc Main
                           Document      Page 6 of 8


                  Illinois Department of Labor
                  160 N LaSalle Street
                  13th Floor
                  Chicago, IL 60601-3150


                  Jansson Munger McKinley & Kirby
                  207 E Westminster Ave
                  Suite 205
                  Lake Forest, IL 60045


                  Mark S. Lichtman
                  222 N LaSalle #300
                  Chicago, IL 60601


                  Matthew B. Schiff
                  Sugar Felsenthal Grais & Hammer LLP
                  30 N LaSalle #3000
                  Chicago, IL 60602


                  Michael Taege
                  800 Northwest Hwy
                  Suite 506
                  Palatine, IL 60074


                  Robert S. Reda
                  736 N Western Ave
                  Suite 353
                  Lake Forest, IL 60045


                  Stephen Sarver
                  1843 Rosemary Lane
                  Gurnee, IL 60031


                  Synergy Law Group LLC
                  730 W Randolph Suite 600
                  Chicago, IL 60661


                  The Tarpey Firm
                  225 W Wacker Drive
                  Suite 1515
                  Chicago, IL 60606


                  Visa Black Card
                  PO Box 13337
                  Philadelphia, PA 19101-3337
Case 17-35506   Doc 1   Filed 11/29/17   Entered 11/29/17 16:18:03   Desc Main
                           Document      Page 7 of 8


                  Wagoner Falconer & Judd
                  325 N Corporate Drive Suite 100
                  Brookfield, WI 53045


                  Westlake Financial Group
                  1477 Barclay Blvd
                  Buffalo Grove, IL 60089


                  William Jeffrey Factor
                  105 W Madison Suite 1500
                  Chicago, IL 60602


                  Williams Montgomery & John Ltd.
                  233 S Wacker Drive
                  Suite 6100
                  Chicago, IL 60606


                  WL Benefits Group Inc.
                  2345 Waukegan Road
                  Suite 140
                  Deerfield, IL 60015
                 Case 17-35506                    Doc 1          Filed 11/29/17      Entered 11/29/17 16:18:03          Desc Main
                                                                    Document         Page 8 of 8



                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      SaveUp Inc.                                                                                  Case No.
                                                                                  Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SaveUp Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 BESH Holdings Corporation




    None [Check if applicable]




 November 29, 2017                                                   /s/ Jeffrey Strange
 Date                                                                Jeffrey Strange 3122923
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for SaveUp Inc.
                                                                     Jeffrey Strange & Associates
                                                                     717 Ridge Road
                                                                     Wilmette, IL 60091




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